Case 3:19-bk-30822       Doc 99   Filed 08/28/19 Entered 08/28/19 12:15:29       Desc Main
                                  Document     Page 1 of 4



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: August 28, 2019

                    UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
________________________________________________________________
                      WESTERN DIVISION AT DAYTON


In re: TAGNETICS INC.,
                                                Case No.    19‐30822

                                                Judge Humphrey
                                                Chapter 7



         Order Fixing Date for Filing of Motions to Enforce Settlement, Scheduling
            Evidentiary Hearing, Requiring Filings, and Ordering Other Matters

       Pursuant to prior order (doc. 96), the court held a status conference on August 27,
2019, participated in by Stephen B. Stern and Robert R. Kracht, counsel for Tagnetics Inc.,
and Petitioning Creditors Jonathan Hager, Ronald E. Earley and Kenneth W. Kayser. In
accordance with the court’s colloquy with the parties during the conference, IT IS ORDERED:

                              Motions to Enforce Settlement

        The parties shall, not later than September 13, 2019, file any motion to enforce
settlement along with any supporting documentation. The parties shall file any objection not
later than September 23, 2019.

       Any motion or objection filed in paper must contain the original wet signature of
each filing party. Federal Rule of Bankruptcy Procedure 9011(a) (“A party who is not
represented by an attorney shall sign all papers.”).

       In the event that a motion to enforce settlement is not filed in accordance with this
order, the court will reschedule the trial on the Involuntary Chapter 7 Petition Against a
Case 3:19-bk-30822     Doc 99    Filed 08/28/19 Entered 08/28/19 12:15:29         Desc Main
                                 Document     Page 2 of 4


Non‐Individual (doc. 1) and Tagnetics Incs.’ Answer to Involuntary Bankruptcy Petition (doc.
10) without further delay.

                                       Hearing Date

       An evidentiary hearing (the “Hearing”) shall be held on October 18, 2019 at 9:30 a.m.
before United States Bankruptcy Judge Guy R. Humphrey in the West Courtroom on the first
floor of The United States Bankruptcy Court on the motions to enforce settlement and any
timely filed response or objection. All counsel and all parties appearing pro se shall appear
at the above scheduled time, unless an entry acceptable to the court providing for
complete resolution of all issues has been filed with the court prior to the above scheduled
time.

        The court does not intend to grant any continuances of the dates and time provided in
this order absent a showing of extraordinary circumstances, including a bona fide emergency,
irreparable injury or harm, or manifest injustice.

                      Witness and Exhibit Lists and Proposed Exhibits

       In accordance with the provisions of Local Bankruptcy Rule 7016‐1, all counsel and pro
se parties shall complete the appropriate Local Bankruptcy Rule Form 7016‐1 (Attachment A)
Witness List(s), containing the person(s) who the Petitioning Creditors, Tagnetics or other
parties may call, or have available for testimony at the Hearing, including separately
designated expert witnesses, which shall be filed with the court and exchanged with counsel
not later than October 11, 2019.

        In accordance with the provisions of Local Bankruptcy Rule 7016‐1, counsel and pro se
parties shall complete the appropriate Local Bankruptcy Rule Form 7016‐1 (Attachment B)
Exhibit List(s). The Exhibit List(s), together with complete copies of all proposed exhibits
which the Petitioning Creditors or Tagnetics Inc. may offer as exhibits individually and/or
jointly, shall be filed with the court and exchanged with opposing counsel not later than
October 11, 2019. Exhibits not timely exchanged may not be admitted at the Hearing. If the
Petitioning Creditors proceed on a pro se basis (representing themselves without legal
counsel) and they intend to call witnesses or introduce documents at the Hearing as
evidence, they or someone on their behalf must either bring their documents to the
courthouse or mail their documents, by overnight or other expedited service, in time to
ensure that their documents are received by the Clerk by October 11, 2019. If any
documents intended to be introduced as evidence at the Hearing are not filed with the
court by October 11, 2019, the party seeking to introduce those documents as evidence may
be precluded from using those documents as evidence at the Hearing.

      Each party shall pre‐mark all exhibits. The Hearing will not commence until all
       exhibits have been suitably labeled. Absent unusual circumstances the Courtroom
       Deputy will not mark exhibits during the course of the Hearing.

                                             2
Case 3:19-bk-30822      Doc 99    Filed 08/28/19 Entered 08/28/19 12:15:29          Desc Main
                                  Document     Page 3 of 4




      Parties shall mark exhibits as follows:

              Numbers – Petitioning Creditors
              Letters – Tagnetics Inc.

      At the conclusion of the Hearing, the parties shall provide an original hard copy of
       each exhibit proffered to the court as evidence during the course of the hearing to
       be retained by the court as part of the record. Presentation of all exhibits during the
       Hearing shall be by means of the court’s electronic display system. If counsel intends
       to present exhibits electronically from a laptop computer or use other digital
       presentation devices, then counsel must provide at least three (3) days advance
       notice to the court to ensure security clearance and technical compatibility.
       Courtroom equipment testing and setup of counsel‐provided devices are the
       responsibility of counsel and should be completed prior to the hearing
       commencement time.

       Copies of witness lists ‐ Form 7016 (Attachment A) Witness List(s) and copies of
exhibit lists Form 7016 (Attachment B) Exhibit List(s) [Individual or Joint Exhibit(s)] are
available from the court’s website www.ohsb.uscourts.gov and from the Clerk of the
Bankruptcy Court in this District.

                                         Stipulations

        All stipulations of the parties, even if previously filed or referred to in documents
previously filed, shall be filed following this order as a separate document captioned
Stipulation(s) Of The Parties and all such stipulation(s) shall be filed not later than October
11, 2019.

       In the event that counsel propose to introduce documentary evidence, counsel are
required to exercise all good faith attempts to enter into stipulations concerning such
documentary evidence and avoid the appearance and testimony of any witness whose sole
purpose is to provide testimony, which will not be disputed, concerning the authentication
and identification of such documentary evidence.

                                     Courtroom Conduct

       The following procedures are to be followed in all proceedings in open court:

       At the commencement of the hearing, each attorney shall stand and state his or her
name and introduce by name the parties and witnesses present for that attorney's cause.
Each attorney shall also state that the names of all witnesses and copies of all proposed
exhibits have been exchanged with all other attorneys; or, shall state the names of all


                                                 3
Case 3:19-bk-30822       Doc 99    Filed 08/28/19 Entered 08/28/19 12:15:29       Desc Main
                                   Document     Page 4 of 4


witnesses and provide copies to all other attorneys of all proposed exhibits that have not
been exchanged.

       All persons, whether counsel, parties, or witnesses, shall be formally addressed by
the surnames wherever possible.

       IT IS SO ORDERED.

Copies to:

All Creditors and Parties in Interest

Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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